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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION


RYAN DEMING, BRIANA FRASIER,                           CV 20-16-M-DWM
MICHAEL MCFARLAND, and
LUCAS GRISWOLD, individually and                           JUDGMENT
on behalf of all others similarly situated,
                       Plaintiffs,

  v.

CIOX HEALTH, LLC, et al.,

                       Defendants.



       This action came before the Court for bench trial, hearing, or determination

 on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED, in accordance with the Court's

 Opinion and Order dated July 30, 2020, that Judgment is entered in favor of

 Defendants and against Plaintiffs. The action is dismissed with prejudice.

       Dated this 31st day of July, 2020.


                                  TYLER P. GILMAN, CLERK

                                  By: /s/ Nicole Stephens
                                  Nicole Stephens, Deputy Clerk
